             Case 2:15-cv-03543-LMA-DEK Document 31 Filed 02/02/16 Page 1 of 2



                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA



MARIE C. WILLIAMS AND                            *              CASE #: 2:15-cv-03543-LMA-DEK
MARIA C. BRIGANDI                                *
                                                 *              JUDGE LANCE M. AFRICK
VERSUS                                           *
                                                 *             MAGISTRATE JUDGE
AT&T CORPORATION – NATIONAL                      *             DANIEL E. KNOWLES, III
COURT ORDER COMPLIANCE CENTER                    *
**************************************************

                            MOTION FOR SUMMARY JUDGMENT

             NOW INTO COURT, through undersigned counsel, comes Defendant, AT&T Services,

Inc. (“AT&T”), pursuant to Federal Rule of Civil Procedure 56, moves for summary judgment in its

favor as there are no contested issues of material fact and, under the applicable law, it is entitled to

summary judgment as a matter of law.

             WHEREFORE, for the reasons set forth more fully in the attached memorandum in

support and exhibits, AT&T requests that this Court dismiss Plaintiffs’ Complaint and Amended

Complaint with prejudice at their cost.

                                                    Respectfully submitted,


                                                        /s/ Peter S. Thriffiley, Jr.
                                                    David F. Bienvenu (Bar No. 03070)
                                                    Joshua M. Hudson (Bar No. 31196)
                                                    Peter S. Thriffiley, Jr. (Bar No. 32731)
                                                    SIMON, PERAGINE, SMITH & REDFEARN, L.L.P.
                                                    1100 Poydras Street, 30th Floor
                                                    New Orleans, Louisiana 70163
                                                    Telephone:            (504) 569-2030
                                                    Facsimile:            (504) 569-2999
                                                    davisr@spsr-law.com; josh@spsr-law.com;
                                                    petert@spsr-law.com
                                                    Attorneys for AT&T Services, Inc.


00160667-1                                         1
             Case 2:15-cv-03543-LMA-DEK Document 31 Filed 02/02/16 Page 2 of 2



                                     CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a copy of the foregoing was this day filed electronically with the

Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all counsel of record

by operation of the court’s electronic filing system and/or through facsimile or U.S. Mail, postage

paid.

             New Orleans, Louisiana, this 2nd day of February, 2016.

                                                          /s/ Peter S. Thriffiley, Jr.




00160667-1                                           2
